           Case 1:19-vv-01299-UNJ Document 30 Filed 06/09/21 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1299V
                                          UNPUBLISHED


    ARLYN HALPERN,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: May 7, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

      On August 27, 2019, Arlyn Halpern filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on October 12,
2018. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

        On May 7, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On May 6, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $65,000.00. Proffer at
4. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
          Case 1:19-vv-01299-UNJ Document 30 Filed 06/09/21 Page 2 of 2



Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the Proffer, I award Petitioner a lump sum
payment of $65,000.00 (all of which is for pain and suffering) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
